






  








IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






WR-69,291-01






EX PARTE CALVIN LETROY HUNTER








ON APPLICATION FOR WRIT OF HABEAS CORPUS


CAUSE NO. 968719 IN THE 230TH DISTRICT COURT

HARRIS COUNTY






	Per Curiam.  

								


O R D E R



	This is an application for writ of habeas corpus filed pursuant to the provisions of
Article 11.071, Tex. Code Crim. Proc.

	In July 2004, applicant was convicted of the offense of capital murder.  The jury
answered the special issues submitted pursuant to Article 37.071, Tex. Code Crim. Proc.,
and the trial court, accordingly, set punishment at death.  This Court affirmed applicant's
conviction and sentence on direct appeal.  Hunter v. State, 243 S.W.3d 664 (Tex. Crim. App.
2007).

	Applicant presents eight allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  The trial court did not hold an evidentiary
hearing.  The trial court adopted the State's proposed findings of fact and conclusions of law
recommending that the relief sought be denied. 

	This Court has reviewed the record with respect to the allegations made by applicant. 
We adopt the trial judge's findings and conclusions.  Based upon the trial court's findings
and conclusions and our own review, we deny relief. 

	IT IS SO ORDERED THIS THE 24TH DAY OF SEPTEMBER, 2008.


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